                         Case 24-31133 Document 82 Filed in TXSB on 04/22/24 Page 1 of 64




Fill in this information to identify the case:

Debtor name         Zero Day Nutrition Company f/k/a GB Nutrition Company

United States Bankruptcy Court for the:     SOUTHERN DISTRICT OF TEXAS

Case number (if known)     24-31134
                                                                                                                            Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
              Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule       A/B; G; Summary of Assets and Liabilitie
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       April 21, 2024                  X
                                                             Signature of individual signing on behalf of debtor

                                                             Michael Bischoff
                                                             Printed name

                                                             CEO
                                                             Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
                                   Case 24-31133 Document 82 Filed in TXSB on 04/22/24 Page 2 of 64
 Fill in this information to identify the case:

 Debtor name            Zero Day Nutrition Company f/k/a GB Nutrition Company

 United States Bankruptcy Court for the:                       SOUTHERN DISTRICT OF TEXAS

 Case number (if known)               24-31134
                                                                                                                                                                                    Check if this is an
                                                                                                                                                                                        amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                    12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                      $       3,706,750.64

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                     $       3,706,750.64


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $       1,627,495.30


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $          12,147.70

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       2,440,196.02


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                            $          4,079,839.02




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2023 Best Case, LLC - www.bestcase.com
                           Case 24-31133 Document 82 Filed in TXSB on 04/22/24 Page 3 of 64
Fill in this information to identify the case:

Debtor name          Zero Day Nutrition Company f/k/a GB Nutrition Company

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF TEXAS

Case number (if known)        24-31134
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Amegy Bank                                        Checking                                                                          $192.49




           3.2.     Amegy Bank                                        Savings                               9226                                           $0.00



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                       $192.49
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.
7.         Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit
                    Security Deposit from 07/30/21 Lease Agreement of 12502 Exchange Drive, Suite
           7.1.     430-448, Stafford, Texas/                                                                                                     $44,413.00



8.         Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                       page 1
                           Case 24-31133 Document 82 Filed in TXSB on 04/22/24 Page 4 of 64
Debtor         Zero Day Nutrition Company f/k/a GB Nutrition                                 Case number (If known) 24-31134
               Company
               Name

           Description, including name of holder of prepayment


9.         Total of Part 2.                                                                                                          $44,413.00
           Add lines 7 through 8. Copy the total to line 81.

Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.
11.        Accounts receivable
           11a. 90 days old or less:                   598,392.44       -                           324,285.49 = ....                   $274,106.95
                                        face amount                            doubtful or uncollectible accounts




12.        Total of Part 3.                                                                                                         $274,106.95
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:        Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.
                                                                                                      Valuation method used    Current value of
                                                                                                      for current value        debtor's interest

14.        Mutual funds or publicly traded stocks not included in Part 1
           Name of fund or stock:

15.        Non-publicly traded stock and interests in incorporated and unincorporated businesses, including any interest in an LLC,
           partnership, or joint venture
           Name of entity:                                               % of ownership
                   Membership Interest in Day One
           15.1.   Distribution, LLC                                             91             %                                              $0.00



16.        Government bonds, corporate bonds, and other negotiable and non-negotiable instruments not included in Part 1
           Describe:


17.        Total of Part 4.                                                                                                                 $0.00
           Add lines 14 through 16. Copy the total to line 83.

Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.
           General description                Date of the last              Net book value of         Valuation method used    Current value of
                                              physical inventory            debtor's interest         for current value        debtor's interest
                                                                            (Where available)

19.        Raw materials

20.        Work in progress

21.        Finished goods, including goods held for resale
Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                         page 2
                         Case 24-31133 Document 82 Filed in TXSB on 04/22/24 Page 5 of 64
Debtor       Zero Day Nutrition Company f/k/a GB Nutrition                                  Case number (If known) 24-31134
             Company
             Name

          Raw materials and
          finished product.                                                     $2,177,003.36                                        $2,177,003.36



22.       Other inventory or supplies

23.       Total of Part 5.                                                                                                       $2,177,003.36
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                                Valuation method                             Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes
Part 6:      Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:      Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.
          General description                                            Net book value of          Valuation method used     Current value of
                                                                         debtor's interest          for current value         debtor's interest
                                                                         (Where available)

39.       Office furniture
          See attached Exhibit "Part 7 #39".                                       $25,047.36                                           $25,047.36



40.       Office fixtures

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          See attached Exhibit "Part 7 #41" - production
          equipment.                                                              $350,146.48                                          $350,146.48



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                            $375,193.84
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
           No
Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                          page 3
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 8 Computer Desk Office Desk Sturdy Writing Workstation
 8 Adjustable Armchair
20 Folding chairs
 3 72in folding table
 1 Rectangular modular table
 2 Rectangular modular Conferance table
 1 Desk and Filing Cabinet Set
 3 Standing desk
 1 mesh task chair
 2 lounge chair
 1 love seat
 1 coffee table
 1 end table
 1 area rug
 2 glass lamps
 1 rectangle dining table
 1 book case
 1 boat shaped table 96x29
 8 Landyn Conference Chair
 1 Desk and credenza Set
            Case 24-31133 Document 82 Filed in TXSB on 04/22/24 Page 7 of 64


24" HP monitor
24" Acer monitor
Wireless keyboard/mouse
17" msi laptop (damaged)
15" silver HP laptop
EPSON Printer/ scanner ET-3-160
33" LG Monitor (2)
33" VIZIO TV with remote
21" Leo Tech Acer Monitor
HP Printer Laser Jet Pro 400
msi pcseries Tower
msi wireless keyboard
Logi wireless mouse
28" AOC monitors (2) with stand
33" LG Monitor
18" msi laptop
18" msi laptop
                              Case 24-31133 Document 82 Filed in TXSB on 04/22/24 Page 8 of 64


Bosch GKF 1500 Capsule Filler 42,500.00

with size "00" tooling and vacuum pump.
Capsule M/F Room-2 CR 35 41 78 40 40 40 40 220 3P F ? ? No No No ???
Capsule Capsuel Polisher
Capsule Automatic FillerSN: 2273 (220V, 60Hz, 3P)
w/#00 capsule size change parts
w/#00 Dosing disk (Thickness 23mm)
w/Powder Collector VCL-300 SN#1062
w/Becker Vane Pump—Made in Germany
w/Spare Parts & Tool Kit Included
UAF-2500C
Capsule Lab Bin Blender
Pulverize Machine M / F Room-1 CR 26 44 63 40 40 40 40 220 3P F
Capsuel Counter Assembly
Capsule Bottle Descrambler Assembly
Capsule Cottoner Assembly
Capaule Capping Machaine Assembly
General Packaging Cap/Pdw Sachet Machanine Assembly
Capsule EZ Bander (EZ-200) CONV. Packaging
Heat Tunnel CONV.
Capsule EZ-100 Neck Bander Packaging


PCE-X
PCE-X Pdwr Ribbon Blender (Mixer
PCE-X Pdwr Pulverize Machine

Pdwr Auger Assembly

PCE-X Pdwr Capping Machine Assembly
PCE-X Pdwr Desiccant Filler Assembly C
PNE-5 Pdwr Labeler (Tubs) Packaging
NE-X Pdwr VideoJet Lot encoder Packaging
Heat Tunnel CONV. Packaging
United Pharmatek Square Cone Mixer

6 Conveyor 14

2 Rotary Compressor
                                    Case 24-31133 Document 82 Filed in TXSB on 04/22/24 Page 9 of 64


7 Vaccum Pumps
7 stage Water whole facility filtration
                       Case 24-31133 Document 82 Filed in TXSB on 04/22/24 Page 10 of 64
Debtor       Zero Day Nutrition Company f/k/a GB Nutrition                             Case number (If known) 24-31134
             Company
             Name


           Yes
45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
           No
           Yes
Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.
          General description                                        Net book value of         Valuation method used     Current value of
          Include year, make, model, and identification numbers      debtor's interest         for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                              (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
          floating homes, personal watercraft, and fishing vessels

49.       Aircraft and accessories


50.       Other machinery, fixtures, and equipment (excluding farm
          machinery and equipment)
          UAC-2500C Automatic Capsule Filler                                   $51,695.29                                          $51,695.29


          Bin Blender BB314 with bin New supplement
          blender                                                              $80,000.00                                          $80,000.00


          New General Packaging E2AC Single Fill, Seal
          Machine for Packing                                                  $25,000.00                                          $25,000.00


          Techline Q120 Wrap Labeling System                                   $20,000.00                                          $20,000.00


          UCM-400 Square Cone Mixer                                            $10,000.00                                          $10,000.00


          Other machinery and equipment not already
          listed. See attached Exhibit "Part 8 #50" which
          includes all machinery and equipment that is
          listed as separate entries as well.                                $649,145.71                                          $649,145.71




51.       Total of Part 8.                                                                                                    $835,841.00
          Add lines 47 through 50. Copy the total to line 87.

52.       Is a depreciation schedule available for any of the property listed in Part 8?
           No
           Yes
53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
           No
           Yes

Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                      page 4
                                                  Case 24-31133 Document 82 Filed in TXSB on 04/22/24 Page 11 of 64


          Type                 Date         Num            Name                         Memo                                            Clr Debit        Split
16100 ·
Machin
ery &
Equipm
ent
                                                           Flight Pharmeceutical
          Check                 1/10/2014 Pymt             Machinery Co                                                                             1920 10150 · GB Operating - BOA 0406

          Bill                  1/23/2014        1046785 Quality Customs Brokers Inc2                                                          295.93 20100 · Accounts Payable
                                                         Flight Pharmeceutical
          Check                 2/18/2014            365 Machinery Co                                                                            1340 10150 · GB Operating - BOA 0406
          Check                 2/24/2014            436 Torpac Capsules U                                                                       1735 10150 · GB Operating - BOA 0406
          Check                 2/24/2014            452 Shanghaiy                                                                               1089 10150 · GB Operating - BOA 0406
          Check                 2/26/2014            446 Torpac Capsules U                                                                       1702 10150 · GB Operating - BOA 0406
          Check                  3/5/2014            549 DJS Enterprises                                                                        21444 10150 · GB Operating - BOA 0406
          Check                 3/12/2014            688 Torpac Capsules U                                                                       2000 10150 · GB Operating - BOA 0406
          Check                  5/9/2014            963                                                                                      1649.99 10150 · GB Operating - BOA 0406
          Check                 5/15/2014            879                                                                                           60 10150 · GB Operating - BOA 0406
          General Journal       6/30/2014 MM13-14                                       To reverse uncleared transactions./ana                        4100 · Sales
          Check                 7/16/2014             26                                                                                      1623.74 Mike's Expense Account (deleted
          Check                 7/16/2014             81                                                                                      3842.81 Mike's Expense Account (deleted
          Check                 7/21/2014             31                                                                                      1726.59 Mike's Expense Account (deleted
          Check                 7/21/2014             32                                                                                       161.29 Mike's Expense Account (deleted
          Check                 7/21/2014             82                                                                                      1807.78 Mike's Expense Account (deleted
          Check                 7/25/2014             47                                                                                       355.06 Mike's Expense Account (deleted
          Check                 7/30/2014             29                                                                                      2159.59 Mike's Expense Account (deleted
          Check                 8/21/2014            496                                Mixer-PWO                                                 695 10150 · GB Operating - BOA 0406
          Check                 8/22/2014            500 DJS Enterprises                                                                         8140 10150 · GB Operating - BOA 0406
          General Journal       9/30/2014 MM13-46                                                                                                4825 1525 · Uncategorized Asset
          Credit Card Charge   11/21/2014                                                                                                        1175 21300 · American Express
          Credit Card Charge    12/3/2014                                                                                                       20600 United Visa
                                                         Flight Pharmeceutical
          Check                12/19/2014            404 Machinery Co                                                                          21495 10150 · GB Operating - BOA 0406
          Check                12/23/2014            582 Sigma Packaging                                                                     21300.5 10150 · GB Operating - BOA 0406
          General Journal      12/31/2014 MM13-69                                       To record purchase of 2005 Ford Excursion./ll       20674.52 -SPLIT-
          General Journal      12/31/2014 MM13-74                                       To adjust fixed assets to PBC amount./ll               23721 -SPLIT-
          General Journal      12/31/2014 MM13-80                                       To reclass to repairs and maintenance./ll                    6400 · Repairs and Maintenance
          General Journal      12/31/2014 MM13-83                                                                                             756.67 6170 · Office Supplies
          Credit Card Charge    2/25/2015                                                                                                       5000 21300 · American Express
          Credit Card Charge     3/4/2015                                                                                                    13897.5 21300 · American Express
          Check                 3/10/2015           1637 Pro-pacK                                                                              30000 10150 · GB Operating - BOA 0406
          Credit Card Charge    3/16/2015                                                                                                    15772.5 21300 · American Express
          Credit Card Charge    3/26/2015                                                                                                    1194.83 21300 · American Express
          Credit Card Charge    5/12/2015                                                                                                    1549.18 21300 · American Express
          Credit Card Charge    5/12/2015                                                                                                     688.88 21300 · American Express
          Credit Card Charge    5/15/2015                                                                                                       2500 21300 · American Express
          Credit Card Charge    5/19/2015                                                                                                    2778.95 21300 · American Express
          Check                 5/19/2015           1023                                                                                       11000 10150 · GB Operating - BOA 0406
          Credit Card Charge    5/21/2015                                                                                                       5000 21300 · American Express
          Credit Card Charge    5/29/2015                                               Red                                                  3311.37 21300 · American Express
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Credit Card Charge     6/2/2015                                                                                          357.23 21300 · American Express
Credit Card Charge     6/4/2015                                                                                           13455 21300 · American Express
                                           Vanguard Pharmaceutical
Check                  6/8/2015       1080 Machinery, USA.                                                                13000 10150 · GB Operating - BOA 0406
Credit Card Credit    6/10/2015                                                                                                  21300 · American Express
Credit Card Charge    6/10/2015                                                                                            297.8 21300 · American Express
Check                 6/12/2015       1085                                                                                   475 10150 · GB Operating - BOA 0406
Credit Card Charge    6/15/2015                                                                                             5100 21300 · American Express
Check                 6/16/2015       1756 Bank of America                                                                10150 10150 · GB Operating - BOA 0406
Credit Card Charge    6/18/2015                                                                                             5500 21300 · American Express
Check                 6/22/2015       1753 Ross & Sons                                                                  11252.5 10150 · GB Operating - BOA 0406
Check                 7/22/2015       1790 Titan Machinery                                                                13470 10150 · GB Operating - BOA 0406
Check                 8/14/2015       1770 Bank of America                                                                  1100 10150 · GB Operating - BOA 0406
Check                 8/14/2015       1771                                                                                  1400 10150 · GB Operating - BOA 0406
Check                 8/26/2015       1832 Titan Machinery                                                                17000 10150 · GB Operating - BOA 0406
Credit Card Charge    8/27/2015                                                                                          961.28 21300 · American Express
Check                  9/1/2015       1843 Bank of America                                                                  9086 10150 · GB Operating - BOA 0406
Deposit                9/3/2015            DJS Enterprises           Deposit                                                     10150 · GB Operating - BOA 0406
Credit Card Charge     9/4/2015                                                                                          641.35 21300 · American Express
Check                  9/4/2015       1837 Bank of America                                                                  9061 10150 · GB Operating - BOA 0406
Check                 9/18/2015       1811 Bank of America           WIRE TYPE:INTL OUT DATE:150918 T                     17660 10150 · GB Operating - BOA 0406
Check                 9/18/2015       1813                           Anchor Systems Bill Payment                            2350 10150 · GB Operating - BOA 0406
Check                 9/23/2015       1814 DJS Enterprises           WIRE TYPE:INTL OUT DATE:150923 T                     16535 10150 · GB Operating - BOA 0406
Check                 10/6/2015       1891 DJS Enterprises           WIRE TYPE:INTL OUT DATE:151006 T                     10000 10150 · GB Operating - BOA 0406
Deposit               10/6/2015            Bank of America           WIRE TYPE:INTL IN DATE:151006 TI                            10150 · GB Operating - BOA 0406
Check                 10/7/2015       1875 Titan Machinery           WIRE TYPE:WIRE OUT DATE:151007 T                       7500 10150 · GB Operating - BOA 0406
                                                                     MILLER EQUIPMENT MILGARLAND 285001000
Credit Card Charge   10/12/2015                                      4693664227                                            7900 21300 · American Express
                                                                     FACTORY OUTLET MAXTOONTARIO 12471272 800-629-
Credit Card Charge   10/14/2015                                      3325                                               5329.99 21300 · American Express
Check                10/23/2015       1846 Titan Machinery           WIRE TYPE:WIRE OUT DATE:151023 T                     10000 10150 · GB Operating - BOA 0406
                                           Vanguard Pharmaceutical
Check                10/23/2015       1909 Machinery, USA.           WIRE TYPE:WIRE OUT DATE:151023 T                     6200 10150 · GB Operating - BOA 0406
Check                11/18/2015       1415 Titan Machinery           WIRE TYPE:WIRE OUT DATE:151118 T                    27000 10150 · GB Operating - BOA 0406
Check                11/25/2015       1884 Titan Machinery           WIRE TYPE:INTL OUT DATE:151125 T                    18920 10150 · GB Operating - BOA 0406
Check                12/17/2015       1940 Titan Machinery           TRANSFER G.B. NUTRITION COMPA:Ti                    10800 10150 · GB Operating - BOA 0406
Check                12/17/2015       1942 Andler Packaging          TRANSFER G.B. NUTRITION COMPA:An                    10000 10150 · GB Operating - BOA 0406
Check                12/28/2015       1924 Angstrom                  TRANSFER G.B. NUTRITION COMPA:An                    55000 10150 · GB Operating - BOA 0406
                                                                     PAYPAL *LZ COMPANY 4029357733 74301959 402-
Credit Card Charge    1/23/2016            LZ Company                935-7733                                            10150 21300 · American Express
Check                 1/25/2016       1919 LZ Company                WIRE TYPE:BOOK OUT DATE:160125 T                    35000 10150 · GB Operating - BOA 0406
Check                 2/25/2016       1943 Angstrom                  TRANSFER G.B. NUTRITION COMPA:Gi                    22000 10150 · GB Operating - BOA 0406
                                                                     VIDEOJET TECHNOLOGIEWOOD DALE 8367399341 630-
Credit Card Charge     3/9/2016                                      860-7300                                            21650 21300 · American Express
                                                                     VIDEOJET TECHNOLOGIEWOOD DALE 7635734530 630-
Credit Card Charge     3/9/2016                                      860-7300                                               9.69 21300 · American Express
Bill                  3/14/2016   75284105 Uline                     30 gallons steel drum                               216.58 20100 · Accounts Payable
Check                 3/21/2016       1124                           Check 1124 - conveyor                                 4935 10150 · GB Operating - BOA 0406

Check                 3/22/2016       1998 Titan Machinery           Titan pharmaceuticals - mixer and sachet machine    25500 10150 · GB Operating - BOA 0406
Check                 3/28/2016       1131                           Check 1131                                          11450 10150 · GB Operating - BOA 0406
                                    Case 24-31133 Document 82 Filed in TXSB on 04/22/24 Page 13 of 64



Credit Card Charge    3/30/2016                                          GARVEY       HAMMONTON 056585 800-257-8581                 976 21300 · American Express
                                                                         POWER EQUIPMENT PoweBOLINGBROOK 332256877
Credit Card Charge     6/1/2016                                          www.powerequipmentdir                                  4299.99 21300 · American Express
Check                  6/9/2016            314 Angstrom                  TRANSFER G.B. NUTRITION COMPA:An                      41180.68 10130 · Checking - BOA 2911
Check                 8/10/2016            128 Angstrom                  TRANSFER G.B. NUTRITION COMPA:An                         30000 10130 · Checking - BOA 2911
Check                 8/16/2016 L0061          STARGO Machinery          Check No# 1035                                           11450 10130 · Checking - BOA 2911
                                                                         MILLER EQUIPMENT 628GARLAND TX 74207856238 469-
Credit Card Charge    8/26/2016                                          366-4227                                                  6630 21300 · American Express
                                                                         MILLER EQUIPMENT 628GARLAND TX 74207856253 469-
Credit Card Charge    9/10/2016                                          366-4227                                               6630.63 21300 · American Express
                                                                         KUSHLAN PRODUCTS LLCHOUSTON TX
Credit Card Charge   10/11/2016                                          85280006285281-313-2506                                1040.52 21300 · American Express

Credit Card Charge   10/20/2016                                          QUADREL, INC. 440-602-4700 OH 4728 LABEL EQUIPM        14222.5 21300 · American Express
                                                                         VIDEOJET TECHNOLOGIEWOOD DALE IL 8079488410
Credit Card Charge   10/21/2016                                          630-860-7300                                          11531.88 21300 · American Express
                                                                         KUSHLAN PRODUCTS LLCHOUSTON TX
Credit Card Charge    11/9/2016                                          85280006314281-313-2506                                1040.52 21300 · American Express
                                                                         VIDEOJET TECHNOLOGIEWOOD DALE IL 8422605159
Credit Card Charge   11/16/2016                                          630-860-7300                                          11602.67 21300 · American Express
Credit Card Charge   11/30/2016                                          POWER EQUIPMENT PoweBOLINGBROOK                        4299.99 21300 · American Express

Credit Card Charge    12/6/2016                                          QUADREL, INC. 440-602-4700 OH 4729 LABEL EQUIPM          11378 21300 · American Express
Credit Card Charge   12/14/2016                                          QUADREL, INC. 440-602-4700 OH                          3884.22 21300 · American Express
                                                                         To reclass expenses on furniture and equipment
General Journal      12/31/2016 M&M16-5                                  asset./bm                                                      6750 · Warehouse supplies

Credit Card Charge     1/5/2017                                          QUADREL, INC. 440-602-4700 OH 4729 LABEL EQUIPM         11378 21300 · American Express
                                                                         AUGER FABRICATION, IEXTON PA 27450006 484-875-
Credit Card Charge    1/10/2017                                          3412                                                       278 21300 · American Express
Check                 1/27/2017           1164                           Check 1164 - Conveyor                                     6600 10130 · Checking - BOA 2911
Credit Card Charge    4/26/2017                                          QUADREL, INC.                                          14372.5 21200 · Chase United Visa
Credit Card Charge     5/5/2017                                          QUADREL, INC.                                            11498 21200 · Chase United Visa
                                                                         QUADREL, INC. 440-602-4700 OH 101583 LABEL
Credit Card Charge    5/20/2017                                          EQUIPM                                                 6865.01 21300 · American Express
                                                                         PAYPAL *CEKINGLTD 4029357733 GB 92712579 402-
Credit Card Charge    10/5/2017                  C.E. KING LIMITED       935-7733                                                  3328 21300 · American Express
                                                                         To reclass transactions from office supplies to the
General Journal      12/31/2017 MM17-8                                   correct accounts./bm                                   9578.53 6400 · Repairs and Maintenance
General Journal      12/31/2017 MM17-2                                   To reclass Purchase from Auger Fabrication./bm                 6750 · Warehouse supplies
                                                                         TEXAS STAR GRILL SHOHOUSTON TX 85347038021 832-
Credit Card Charge    1/21/2018                  Texas Star Grill Shop   426-4229                                               3300.19 21300 · American Express
Credit Card Charge    4/13/2018                  staples                 shu-hai office chair for new exchange                   108.24 21300 · American Express
Bill                   5/3/2018                  Bid on Equipment                                                                  2812 20100 · Accounts Payable
Bill                   5/3/2018                  Bid on Equipment                                                                 11200 20100 · Accounts Payable
Bill                   5/3/2018                  Bid on Equipment                                                                3030.5 20100 · Accounts Payable
Bill                  5/10/2018                  Bid on Equipment        Encapuslator                                             10400 20100 · Accounts Payable
Bill                  5/30/2018                  Bid on Equipment                                                                 45435 20100 · Accounts Payable
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                                                                              purchased water fountain to replace one that never
Credit Card Charge    6/28/2018           48243 USA DRINKING FOUNTAIN         worked at exchange location on 6/28 contact Lee              544.5 21300 · American Express
Check                 9/14/2018            2225 Massey Rack                   Stacks and racks for Exchange warehouse                    3702.15 10130 · Checking - BOA 2911

Check                 9/17/2018            2226 Massey Rack                   16 Teardrop Beams, 94X3.5 and 10 wire decks 48x46           595.38 10130 · Checking - BOA 2911
                                                                              Ross Model 42N-18 Ribbon Blender (Serial Number
Invoice               1/10/2019            2249 A&J Machine Inc.              112812)                                                            12000 · Accounts Receivable
Credit Card Credit    4/11/2019                 Morrison Supply Company       Credit for scratched sink                                          21200 · Chase United Visa
Credit Card Credit    4/11/2019                 Morrison Supply Company                                                                        0 21200 · Chase United Visa
Bill                  4/15/2019        15422054 Global Industrial             Table                                                       293.49 20100 · Accounts Payable

Bill                   5/1/2019           136235 Nicol Scales & Measurement   New Scales                                                   791.66 20100 · Accounts Payable
Bill                  5/28/2019                   Discount Ramps              Dock Ramp                                                  1353.11 20100 · Accounts Payable
Credit Card Charge     6/4/2019                   Global Industrial           Stainless shelving                                           493.01 21300 · American Express
Bill                  6/13/2019         15758128 Global Industrial            Samples Cabinet for Joey                                   1164.78 20100 · Accounts Payable
Credit Card Charge    6/14/2019                   Global Industrial           Stainless steel shleves                                      493.01 21300 · American Express
Bill                  7/18/2019        110543524 Uline                        5 Stainless steels shelving units                          3976.46 20100 · Accounts Payable
Bill                  7/25/2019 Lab Equipment     Savage, Joseph D.           Joey's lab equipment (July 25, 2019)                       1267.22 20100 · Accounts Payable
Credit Card Charge    7/30/2019                   Wayfair                     TK's office                                                  554.19 21300 · American Express
Credit Card Charge    7/31/2019                   Global Industrial                                                                        260.83 21200 · Chase United Visa
Credit Card Charge     8/6/2019                   Wayfair                                                                                  378.34 21300 · American Express
Credit Card Charge     8/6/2019                   Wayfair                     conf room chairs and table                                 1135.06 21300 · American Express
Credit Card Charge    8/12/2019                   Wayfair                     Chairs/conf table                                          2191.89 21300 · American Express
Credit Card Charge    8/13/2019                   Wayfair                     Lobby Furniture                                            1287.02 21300 · American Express
Credit Card Charge    8/13/2019                   Wayfair                     chairs                                                       864.12 21300 · American Express
Bill                  8/22/2019         16106632 Global Industrial            Lab sink                                                     983.79 20100 · Accounts Payable
Bill                  8/23/2019 FB843B4F-0002 Surplus Solutions               Top Capsule Filler                                              850 20100 · Accounts Payable
Credit Card Charge     9/6/2019         16174200 Global Industrial            Samples Cabinet for Lab                                    1173.43 21300 · American Express
Credit Card Charge    9/10/2019                   Global Industrial           Lab equipment (tables, shelves, faucets, drawers           1193.45 21300 · American Express
Credit Card Charge    9/17/2019                   WebstaurantStore            Table and 3 stainless shelves for lab.                       446.94 21300 · American Express
Bill                  9/17/2019           543381 Garage Organization          Stainless Cabinets for Joey's Lab                            659.95 20100 · Accounts Payable
Bill                  9/23/2019 520 Racks         John Olfield                Racks for Suite 520                                            3500 20100 · Accounts Payable
Bill                  9/25/2019 Refrigerator      Home Depot                  Kitchen Refrigerator                                         983.21 20100 · Accounts Payable
Bill                 10/15/2019        115031297 Global Industrial            Shelf for lab                                                225.29 20100 · Accounts Payable
Credit Card Charge   12/19/2019                   Wayfair                     Sam's office                                                 811.39 21300 · American Express
General Journal      12/31/2019 DS B                                          To adjust Fixed assets to 2018 amounts                              16500 · Leasehold Improvements
General Journal      12/31/2019 DS B                                          To reclass expenses to/from Fixed assets                   10216.5 -SPLIT-
General Journal      12/31/2019 DS B                                          To reclass expenses to/from Fixed assets                            16100 · Machinery & Equipment
General Journal        1/1/2020              1104                             Reclass to correct account                                          16200 · Furniture
General Journal       2/15/2021              1107                             UAF-2500C Automatic Capsule Filler - used                   100500 28500 · Notes Payable

                                                                              reclass sale of Bosch GKF 1500 Capsule Filler, with size
General Journal       3/24/2021            1230                               "00" tooling and vacuum pump. Unit in ...                          16600 · Production Equipment
                                                                              AC/Dehumidifier unit and installation components. PO
Bill                   6/2/2021 114116808-0001 AIRREX                         1318                                                       8914.42 20100 · Accounts Payable

Credit Card Charge   12/29/2021                   Micro Center                MB's Computer: MSI AEGIS S/N:MSBZ01L5S0107629              2814.49 21310 · AMEX Plat 7008
                                                                              Record Pawnee leased equipment as ROU asset, reclass
General Journal        1/1/2022 PawneeEquip    Pawnee Leasing (Auto)          to 16400                                                          16400 · Right of Use Asset - Equipment
Bill                   4/4/2022           1177 Master Blendz                  CP 7000 Capsule Polisher                                     1000 20100 · Accounts Payable
                   Case 24-31133 Document 82 Filed in TXSB on 04/22/24 Page 15 of 64


Bill   6/16/2022         Master Blendz                                  0 20100 · Accounts Payable
                        Case 24-31133 Document 82 Filed in TXSB on 04/22/24 Page 16 of 64
Debtor        Zero Day Nutrition Company f/k/a GB Nutrition                               Case number (If known) 24-31134
              Company
              Name

Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.
55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of           Nature and             Net book value of             Valuation method used   Current value of
           property                              extent of              debtor's interest             for current value       debtor's interest
           Include street address or other       debtor's interest      (Where available)
           description such as Assessor          in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1. Leasehold
                   improvements in
                   12502 Exchange Dr             Leasehold
                   #448, Stafford, TX            Improvement                    $199,224.81                                                       $0.00




56.        Total of Part 9.                                                                                                                  $0.00
           Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
           Copy the total to line 88.

57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
            Yes
58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
            Yes
Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                          Net book value of             Valuation method used    Current value of
                                                                        debtor's interest             for current value        debtor's interest
                                                                        (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           Trademarks, See attached Exhibit "Part 10
           #60"                                                                         $0.00                                             Unknown



61.        Internet domain names and websites
           www.Glaxon.com licensed to Day One
           Distribution LLC                                                             $0.00                                             Unknown



62.        Licenses, franchises, and royalties
           Texas Food Manufacturer License                                              $0.00                                                     $0.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                              page 5
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Case List
Foley CM No.   Country                Title/Mark            Case Status                 Registration Date   Registration No.   Application Date   Application No.   Publication Date   Local Classes

120816-3001    United States of America SPECIMEN            Registered                     Aug-25-2020      6136363              Feb-24-2020      88/808674           Jun-09-2020      05

120816-3008    United States of America HYBRID              Pending/Application Filed                                            Aug-23-2021      90/896859                            05

120816-3009    United States of America GLAXON and design   Registered                     Jan-05-2021      6236887              Feb-13-2020      88/796405           Oct-20-2020      05

120816-3010    United States of America SUPERSHROOMS        Registered                     Nov-10-2020      6197325              Feb-24-2020      88/808686                            05

120816-3011    United States of America MYO-SEQ             Registered                     Aug-25-2020      6136364              Feb-24-2020      88/808697           Jun-09-2020      05

                                        TRAVEL NUTRA and
120816-3013    United States of America                     Registered                     Jun-29-2021      6399536              Feb-13-2020      88/796452           Apr-13-2021      05
                                        design

120816-3021    United States of America GLAXON              Registered                     Jan-25-2022      6625739              Nov-19-2020      90/330693           Nov-09-2021      05

                                      GLAXON (Stylized &
120816-7000    Brazil                                       Registered                     Nov-03-2021      921756690            Jan-08-2021      921756690                            05
                                      Design)

120816-7003    India                  GLAXON (and Design)   Registered                     May-14-2021      4705098              Oct-16-2020      4705098                              05

120816-7004    Brazil                 SPECIMEN              Registered                     Nov-03-2021      921756593            Jan-08-2021      921756593                            05
120816-7005    Brazil                 GLAXON (word)         Registered                     Nov-30-2021      921858388            Jan-21-2021      921858388                            05

120816-7006    Canada                 GLAXON (word)         Pending/Application Filed                                            Jan-15-2021      2077786                              05

120816-7009    United Arab Emirates   GLAXON                Pending/Application Filed                                            Feb-18-2021      345224                               05

120816-7010    India                  GLAXON (word)         Registered                     Jan-29-2021      4839833              Jan-29-2021      4839833                              05
120816-7012    United Kingdom         GLAXON                Registered                     May-14-2021      3580017              Jan-15-2021      3580017                              05
120816-7014    New Zealand            GLAXON                Registered                     Oct-21-2021      1176542              Apr-20-2021      1176542                              05
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Debtor        Zero Day Nutrition Company f/k/a GB Nutrition                                Case number (If known) 24-31134
              Company
              Name

           FDA Registration                                                              $0.00                                               $0.00



63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                               $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                             Current value of
                                                                                                                             debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership

           Intuit Merchant Account                                                                                                      Unknown




78.        Total of Part 11.                                                                                                               $0.00
           Add lines 71 through 77. Copy the total to line 90.


Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                        page 6
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Debtor      Zero Day Nutrition Company f/k/a GB Nutrition                           Case number (If known) 24-31134
            Company
            Name

79.      Has any of the property listed in Part 11 been appraised by a professional within the last year?
          No
          Yes




Official Form 206A/B                            Schedule A/B Assets - Real and Personal Property                      page 7
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Debtor          Zero Day Nutrition Company f/k/a GB Nutrition                                                       Case number (If known) 24-31134
                Company
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                                 $192.49

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $44,413.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $274,106.95

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                           $2,177,003.36

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                        $375,193.84

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                    $835,841.00

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $3,706,750.64            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,706,750.64




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                        page 8
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Fill in this information to identify the case:

Debtor name        Zero Day Nutrition Company f/k/a GB Nutrition Company

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF TEXAS

Case number (if known)      24-31134
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Pest services
             lease is for and the nature of
             the debtor's interest

                State the term remaining
                                                                                    ABC Home & Commercial Services
             List the contract number of any                                        11934 Barker Cypress Road
                   government contract                                              Cypress, TX 77433


2.2.         State what the contract or           Lease Agreement
             lease is for and the nature of
             the debtor's interest
                                                                                    CP Oakley LP
                State the term remaining          50 Months                         c/o Cal Rey Properties LLC
                                                                                    Attn: Steve King
             List the contract number of any                                        2404 Blue Bonnet Blvd
                   government contract                                              Houston, TX 77030


2.3.         State what the contract or           License Agreement for
             lease is for and the nature of       use of Trademarks.
             the debtor's interest

                State the term remaining                                            Day One Distribution LLC
                                                                                    12502 Exchange Drive
             List the contract number of any                                        Suite 448
                   government contract                                              Stafford, TX 77477




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 2
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Fill in this information to identify the case:

Debtor name         Zero Day Nutrition Company f/k/a GB Nutrition Company

United States Bankruptcy Court for the:    SOUTHERN DISTRICT OF TEXAS

Case number (if known)    24-31134
                                                                                                                               Check if this is an
                                                                                                                                  amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                              04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

      None.
      Identify the beginning and ending dates of the debtor’s fiscal year,            Sources of revenue                          Gross revenue
      which may be a calendar year                                                    Check all that apply                        (before deductions and
                                                                                                                                  exclusions)

      From the beginning of the fiscal year to filing date:                            Operating a business                                $530,980.37
      From 1/01/2024 to Filing Date
                                                                                       Other


      For prior year:                                                                  Operating a business                              $5,726,781.63
      From 1/01/2023 to 12/31/2023
                                                                                       Other


      For year before that:                                                            Operating a business                              $4,663,925.00
      From 1/01/2022 to 12/31/2022
                                                                                       Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

      None.
                                                                                      Description of sources of revenue           Gross revenue from
                                                                                                                                  each source
                                                                                                                                  (before deductions and
                                                                                                                                  exclusions)

Part 2:     List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

      None.
      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 1
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Vendor                                 Date         Account                                Amount
ADP                                        4/5/2024 10110 · Amegy Bank - Operating *2655   $     75.83
ADP                                       3/29/2024 10110 · Amegy Bank - Operating *2655   $    165.26
ADP                                       3/29/2024 10110 · Amegy Bank - Operating *2655   $     74.20
ADP                                       3/22/2024 10110 · Amegy Bank - Operating *2655   $    152.34
ADP                                        3/8/2024 10110 · Amegy Bank - Operating *2655   $     89.35
ADP                                        3/6/2024 10110 · Amegy Bank - Operating *2655   $ 23,702.38
ADP                                        3/1/2024 10110 · Amegy Bank - Operating *2655   $     87.95
ADP                                       2/23/2024 10110 · Amegy Bank - Operating *2655   $    165.26
ADP                                       2/23/2024 10110 · Amegy Bank - Operating *2655   $     89.91
ADP                                       2/16/2024 10110 · Amegy Bank - Operating *2655   $     87.95
ADP                                        2/9/2024 10110 · Amegy Bank - Operating *2655   $     97.21
ADP                                        2/2/2024 10110 · Amegy Bank - Operating *2655   $     89.91
ADP                                       1/31/2024 10110 · Amegy Bank - Operating *2655   $    394.56
ADP                                       1/26/2024 10110 · Amegy Bank - Operating *2655   $    165.26
ADP                                       1/26/2024 10110 · Amegy Bank - Operating *2655   $     87.95
ADP                                       1/19/2024 10110 · Amegy Bank - Operating *2655   $     89.91
ADP                                       1/12/2024 10110 · Amegy Bank - Operating *2655   $     95.24
ADP                                        1/5/2024 10110 · Amegy Bank - Operating *2655   $     87.95
ADP                                      12/29/2023 10110 · Amegy Bank - Operating *2655   $     91.88
ADP                                      12/29/2023 10110 · Amegy Bank - Operating *2655   $    165.26
ADP                                      12/22/2023 10110 · Amegy Bank - Operating *2655   $     87.95
ADP                                      12/18/2023 10110 · Amegy Bank - Operating *2655   $     89.91
American Express                         12/28/2023 21110 · AMEX CORP -T ZENNER - 61028    $    570.05
American Express                          1/28/2024 21110 · AMEX CORP -T ZENNER - 61028    $    588.68
American Express                          1/28/2024 21110 · AMEX CORP -T ZENNER - 61028    $     25.00
American Express                          1/10/2024 Bill Pmt -Check                        $ 22,027.91
American Express Platinum (Auto)         12/26/2023 21310 · AMEX Plat 7008                 $    183.72
American Express Platinum (Auto)          1/23/2024 21310 · AMEX Plat 7008                 $ (1,500.00)
American Express Platinum (Auto)          1/26/2024 21310 · AMEX Plat 7008                 $    211.35
American Express Platinum (Auto)          1/23/2024 Bill Pmt -Check                        $       -
American Express Platinum (Auto)          1/22/2024 Bill Pmt -Check                        $ 8,523.00
American Express Platinum (Auto)          1/16/2024 Bill Pmt -Check                        $ 5,000.00
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American Express Platinum (Auto)           1/5/2024 Bill Pmt -Check                        $ 10,000.00
American Express Platinum (Auto)         12/26/2023 Bill Pmt -Check                        $ 5,000.00
American Express Platinum (Auto)         12/21/2023 Bill Pmt -Check                        $       -
American Express Platinum (Auto)         12/21/2023 Bill Pmt -Check                        $ 8,523.00
Berlin Packaging LLC                       2/9/2024 Bill Pmt -Check                        $ 4,033.40
Berlin Packaging LLC                       2/9/2024 Bill Pmt -Check                        $       -
Berlin Packaging LLC                       2/5/2024 Bill Pmt -Check                        $ 4,510.13
Chase Card Services (Auto)                 1/4/2024 21200 · Chase United Visa              $    758.40
Chase Card Services (Auto)                 2/5/2024 21200 · Chase United Visa              $    762.66
Chase Card Services (Auto)                1/22/2024 Bill Pmt -Check                        $ 5,000.00
Chase Card Services (Auto)                1/16/2024 Bill Pmt -Check                        $ 1,252.16
Chase Card Services (Auto)                1/16/2024 Bill Pmt -Check                        $ 2,500.00
Chase Card Services (Auto)                 1/3/2024 Bill Pmt -Check                        $ 1,224.16
CP Oakley, LP (Bill Pay)                   4/3/2024 10110 · Amegy Bank - Operating *2655   $ 43,300.00
CP Oakley, LP (Bill Pay)                   1/2/2024 Bill Pmt -Check                        $ 40,098.00
Haselden Farr PLLC                        3/12/2024 10110 · Amegy Bank - Operating *2655   $ 15,000.00
Haselden Farr PLLC                        2/12/2024 10110 · Amegy Bank - Operating *2655   $ 10,000.00
Kickfurther                              12/21/2023 21310 · AMEX Plat 7008                 $ 4,000.00
Kickfurther                               1/19/2024 21310 · AMEX Plat 7008                 $ 4,000.00
LG Funding LLC                             1/4/2024 10110 · Amegy Bank - Operating *2655   $ 10,000.00
LG Funding LLC                           12/18/2023 10110 · Amegy Bank - Operating *2655   $ 10,768.00
LG Funding LLC                           12/18/2023 10110 · Amegy Bank - Operating *2655   $ 8,438.00
Stearns Bank (Auto)                       2/21/2024 Bill Pmt -Check                        $ 3,588.19
Stearns Bank (Auto)                       1/22/2024 Bill Pmt -Check                        $ 3,588.19
Stearns Bank (Auto)                      12/21/2023 Bill Pmt -Check                        $ 3,588.19
Texas Gulf Bank (Bill Pay)                 2/5/2024 Bill Pmt -Check                        $ 19,328.06
Texas Gulf Bank (Bill Pay)                 1/2/2024 Bill Pmt -Check                        $ 19,328.06
Worldwide Express (8605)                   1/6/2024 21310 · AMEX Plat 7008                 $ 7,891.66
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   INSIDER PAYMENTS
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DAY ONE DISTRIBUTION PAYMENTS TO ZERO DAY
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Customer Num                 Date       Pay Meth             Amount
DOD                           3/17/2023 Wire                 $ 200,000.00
DOD      Deposit              3/27/2023 Wire                 $   20,000.00
DOD      Deposit               4/7/2023 Wire                 $   50,000.00
DOD      Deposit              4/19/2023 Wire                 $ 170,000.00
DOD                           5/22/2023 Wire                 $   42,000.00
DOD                           5/23/2023 Wire                 $   42,000.00
DOD                           5/26/2023 Wire                 $   15,000.00
DOD                           5/26/2023 Wire                 $   19,000.00
DOD                           5/31/2023 Wire                 $ 195,000.00
DOD                           7/13/2023 Wire                 $ 220,000.00
DOD                           7/21/2023 Wire                 $   60,000.00
DOD                           7/24/2023 Wire                 $   70,000.00
DOD                            8/2/2023 Wire                 $ 200,000.00
DOD                            8/7/2023 Wire                 $ 200,000.00
DOD                           8/15/2023 Wire                 $   80,000.00
DOD                           8/16/2023 Wire                 $   50,000.00
DOD                           9/18/2023 Wire                 $ 150,000.00
DOD                           10/3/2023 Wire                 $   20,000.00
DOD                           10/3/2023 Wire                 $ 100,000.00
DOD                          10/18/2023 Wire                 $   50,000.00
DOD                          10/24/2023 Wire                 $   20,000.00
DOD                          10/30/2023 Wire                 $   15,000.00
DOD                          10/30/2023 Wire                 $   50,000.00
DOD                           11/7/2023 Wire                 $   20,000.00
DOD                           11/7/2023 Wire                 $   55,000.00
DOD                          11/10/2023 Wire                 $   10,000.00
DOD                          11/13/2023 Wire                 $      100.00
DOD                          11/13/2023 Wire                 $    1,000.00
DOD                          11/28/2023 Wire                 $    5,000.00
DOD                          12/11/2023 Wire                 $    5,000.00
DOD                          12/20/2023 Wire                 $   30,200.00
DOD                            1/4/2024 Wire                 $    4,000.00
DOD                           1/12/2024 Wire                 $   10,000.00
DOD                           1/19/2024 Wire                 $   10,000.00
DOD                            2/9/2024 Wire                 $    5,000.00
DOD                            2/9/2024 Wire                 $   20,000.00
DOD                           2/22/2024 Wire                 $    2,000.00
DOD                            3/8/2024 Wire                 $      750.00
DOD                           3/15/2024 Wire                 $      400.00
DOD                           3/21/2024 Wire                 $    3,000.00
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ZERO DAY TRANSFERS TO DAY ONE DISTRIBUTION
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Name   Type      Date               Num     Name      Memo                                             Clr   Split                       Debit                Credit
DOD




       Deposit          3/16/2023           DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X     10900 · Undeposited Funds   $       200,000.00

       Deposit          3/27/2023           DOD       Deposit                                          X     10900 · Undeposited Funds   $        20,000.00

       Deposit           4/7/2023           DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X     10900 · Undeposited Funds   $        50,000.00

       Deposit          4/19/2023           DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X     10900 · Undeposited Funds   $       170,000.00
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                                                                                             13100 · InterCompany
Check      4/27/2023 Wire     DOD       Transfer funder to DOD per Hanan                 X   Receivable - DOD                             $ 126,000.00
                                                                                             13100 · InterCompany
Check      5/19/2023 Wire     DOD       Transfer funder to DOD per Hanan                 X   Receivable - DOD                             $    4,000.00

Deposit    5/22/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $    42,000.00

Deposit    5/23/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $    42,000.00
                                                                                             13100 · InterCompany
Check      5/24/2023 Wire     DOD       Transfer funder to DOD per Hanan                 X   Receivable - DOD                             $   42,000.00

Deposit    5/24/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $    15,000.00

Deposit    5/24/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $    19,000.00

Deposit    5/31/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $   195,000.00

Deposit    7/13/2023          DOD       Deposit                                          X   10900 · Undeposited Funds   $   220,000.00

Deposit    7/21/2023          DOD       Deposit                                          X   10900 · Undeposited Funds   $    60,000.00

Deposit    7/24/2023          DOD       Deposit                                          X   10900 · Undeposited Funds   $    70,000.00

Deposit     8/1/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $   200,000.00

Deposit     8/8/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $   200,000.00

Deposit    8/15/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $    80,000.00

Deposit    8/16/2023          DOD       Deposit                                          X   10900 · Undeposited Funds   $    50,000.00

Deposit    9/15/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $   150,000.00

Deposit    10/3/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $    20,000.00

Deposit    10/3/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $   100,000.00

Deposit   10/18/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $    50,000.00

Deposit   10/23/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $    20,000.00

Deposit   10/27/2023          DOD       Deposit                                          X   10900 · Undeposited Funds   $    15,000.00

Deposit   10/30/2023          DOD       Deposit                                          X   10900 · Undeposited Funds   $    50,000.00
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Deposit    11/7/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $   20,000.00

Deposit    11/7/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $   55,000.00

Deposit   11/10/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $   10,000.00

Deposit   11/13/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $     100.00

Deposit   11/13/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $    1,000.00
                                                                                             13100 · InterCompany
Check     11/20/2023 Wire     DOD       Transfer funder to DOD per Hanan                 X   Receivable - DOD                            $   9,900.00

Deposit   11/28/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $    5,000.00

Deposit   12/11/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $    5,000.00

Deposit   12/21/2023          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $   30,200.00
                                                                                             13100 · InterCompany
Check     12/26/2023 Wire     DOD       Transfer funder to DOD                           X   Receivable - DOD                            $   7,000.00
                                                                                             13100 · InterCompany
Check     12/29/2023 Wire     DOD       Transfer funder to DOD                           X   Receivable - DOD                            $   7,600.00

Deposit     1/4/2024          DOD       Deposit                                          X   10900 · Undeposited Funds   $    4,000.00

Deposit    1/11/2024          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $   10,000.00

Deposit    1/19/2024          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $   10,000.00
                                                                                             13100 · InterCompany
Check      1/26/2024 Wire     DOD       Transfer funder to DOD                           X   Receivable - DOD                            $   2,000.00

Deposit     2/9/2024          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $    5,000.00

Deposit     2/9/2024          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $   20,000.00
                                                                                             13100 · InterCompany
Check      2/15/2024 Wire     DOD       Transfer funder to DOD                           X   Receivable - DOD                            $   4,000.00

Deposit    2/22/2024          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $    2,000.00
                                                                                             13100 · InterCompany
Check       3/5/2024 Wire     DOD       Transfer funder to DOD                           X   Receivable - DOD                            $   9,950.00

Deposit     3/8/2024          DOD       Deposit Payee:Online Xfer from DDA Day One Dis   X   10900 · Undeposited Funds   $     750.00
                                                                                             13100 · InterCompany
Check       3/8/2024 Wire     DOD       Transfer funder to DOD                           X   Receivable - DOD                            $   6,500.00
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                                                                                  13100 · InterCompany
Check   3/12/2024 Wire     DOD       Transfer funder to DOD                 X     Receivable - DOD       $   4,000.00
                                                                                  13100 · InterCompany
Check   3/13/2024 Wire     DOD       Transfer funder to DOD                 X     Receivable - DOD       $   2,000.00
                                                                                  13100 · InterCompany
Check   3/13/2024 Wire     DOD       Transfer funder to DOD                 X     Receivable - DOD       $   1,500.00
                                                                                  13100 · InterCompany
Check   3/14/2024 Wire     DOD       Transfer funder to DOD                 X     Receivable - DOD       $   1,000.00
                                                                                  13100 · InterCompany
Check   3/14/2024 Wire     DOD       Transfer funder to DOD                 X     Receivable - DOD       $   3,500.00
                                                                                  13100 · InterCompany
Check   3/14/2024 Wire     DOD       Transfer funder to DOD                 X     Receivable - DOD       $    360.00
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 SHAREHOLDER SOLUTIONS LOAN TO ZERO DAY
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Type              Date              Num      Name                  Memo                 Clr         Split                                  Debit   Credit        Balance
                                             Balance as of October
                                             5, 2023                                                                                                             $         159,263.35
                                                                   Shareholder ST
                                             Shareholder Solutions Loan to facilitate
General Journal           10/5/2023 10052023 LLC                   Cash Flow                        10110 · Amegy Bank - Operating *2655           $ 40,000.00
                                                                   Shareholder ST
                                             Shareholder Solutions Loan to facilitate
General Journal          10/24/2023 10242023 LLC                   Cash Flow                        10110 · Amegy Bank - Operating *2655           $ 20,000.00
                                                                   Shareholder ST
                                             Shareholder Solutions Loan to facilitate
General Journal          10/30/2023 10302023 LLC                   Cash Flow                        10110 · Amegy Bank - Operating *2655           $ 6,500.00
                                                                   Shareholder ST
                                    11102023 Shareholder Solutions Loan to facilitate
General Journal          11/10/2023 SH       LLC                   Cash Flow                        10110 · Amegy Bank - Operating *2655           $ 5,000.00
                                                                   Shareholder ST
                                    11132023 Shareholder Solutions Loan to facilitate
General Journal          11/13/2023 SH       LLC                   Cash Flow                        10110 · Amegy Bank - Operating *2655           $ 1,000.00
                                                                   Shareholder ST
                                             Shareholder Solutions Loan to facilitate
General Journal          11/13/2023 111312SH LLC                   Cash Flow                        10110 · Amegy Bank - Operating *2655           $ 1,000.00
                                                                   Shareholder ST
                                    11272023 Shareholder Solutions Loan to facilitate
General Journal          11/27/2023 SH       LLC                   Cash Flow                        10110 · Amegy Bank - Operating *2655           $ 16,000.00
                                                                   Shareholder ST
                                    12082023 Shareholder Solutions Loan to facilitate
General Journal            1/4/2024 SH       LLC                   Cash Flow                        10110 · Amegy Bank - Operating *2655           $   300.00
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     MICHAEL BISCHOFF LOAN TO ZERO DAY
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Type              Date      Num               Name         Memo     Clr                                    Split   Debit        Credit         Balance


                                              Michael
                                              Bischoff
                                              ST Loan to
                  11102023                    facilitate
       11/10/2023 MB       Michael Bischoff   Cash Flow             10110 · Amegy Bank - Operating *2655                        $ 16,000.00


                                              Michael
                                              Bischoff
                                              ST Loan to
                  11272023                    facilitate
       11/28/2023 MB       Michael Bischoff   Cash Flow             10110 · Amegy Bank - Operating *2655                        $ 50,000.00

                                              Sharehold
                                              er ST Loan
                                              to
                  12052023                    facilitate
        12/5/2023 MB       Michael Bischoff   Cash Flow             10110 · Amegy Bank - Operating *2655                        $ 49,000.00

                                              Sharehold
                                              er ST Loan
                                              to
                  12082023                    facilitate
        12/7/2023 MB       Michael Bischoff   Cash Flow             10110 · Amegy Bank - Operating *2655                        $ 30,000.00

                                              Sharehold
                                              er ST Loan
                                              to
                  12112023                    facilitate
       12/11/2023 MB       Michael Bischoff   Cash Flow             10110 · Amegy Bank - Operating *2655                        $ 35,000.00
                                              Online
                                              Xder to
                                              DDA
                  12212023                    Sharehold
       12/21/2023 MB       Michael Bischoff   er                    10110 · Amegy Bank - Operating *2655           $ 6,000.00
                                              Online
                                              Xder to
                                              DDA
                  12212023                    Sharehold
       12/21/2023 MB       Michael Bischoff   er                    10110 · Amegy Bank - Operating *2655           $ 5,000.00
                                              Online
                                              Xder to
                                              DDA
                  12262023                    Sharehold
       12/26/2023 MB       Michael Bischoff   er                    10110 · Amegy Bank - Operating *2655           $ 7,000.00

                                              Sharehold
                                              er ST Loan
                                              to
                  01042024                    facilitate
         1/4/2024 MB       Michael Bischoff   Cash Flow             10110 · Amegy Bank - Operating *2655                        $   3,700.00
                                              Online
                                              Xder to
                                              DDA
                  01082024                    Sharehold
         1/8/2024 MB       Michael Bischoff   er                    10110 · Amegy Bank - Operating *2655           $ 5,000.00
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                                       Online
                                       Xder to
                                       DDA
          01092024                     Sharehold
 1/9/2024 MB       Michael Bischoff    er                 10110 · Amegy Bank - Operating *2655   $ 3,500.00
                                       Online
                                       Xder to
                                       DDA
          02072024                     Sharehold
 2/7/2024 MB       Michael Bischoff    er                 10110 · Amegy Bank - Operating *2655   $ 1,500.00
                                       Online
                                       Xder to
                                       DDA
          02092024                     Sharehold
 2/9/2024 MB       Michael Bischoff    er                 10110 · Amegy Bank - Operating *2655   $ 5,000.00
                                       Online
                                       Xder to
                                       DDA
          02122024                     Sharehold
2/12/2024 MB       Michael Bischoff    er                 10110 · Amegy Bank - Operating *2655   $ 5,000.00
                                       Online
                                       Xder to
                                       DDA
          02132024                     Sharehold
2/13/2024 MB       Michael Bischoff    er                 10110 · Amegy Bank - Operating *2655   $ 4,000.00
                                       Online
                                       Xfer from
                                       DDA
                                       Bischoff Jr
                                       Id:
2/15/2024           Michael Bischoff   000004             10110 · Amegy Bank - Operating *2655                $   2,500.00
                                       Online
                                       Xder to
                                       DDA
          02152024                     Sharehold
2/15/2024 MB       Michael Bischoff    er                 10110 · Amegy Bank - Operating *2655   $ 2,500.00

                                       Sharehold
                                       er ST Loan
                                       to
          02292024                     facilitate
2/29/2024 MB       Michael Bischoff    Cash Flow          10110 · Amegy Bank - Operating *2655                $   5,000.00

                                       Sharehold
                                       er ST Loan
                                       to
          02292024                     facilitate
2/29/2024 MB       Michael Bischoff    Cash Flow          10110 · Amegy Bank - Operating *2655                $   6,500.00

                                       Sharehold
                                       er ST Loan
                                       to
          03072024                     facilitate
 3/7/2024 MB       Michael Bischoff    Cash Flow          10110 · Amegy Bank - Operating *2655                $   2,000.00

                                       Sharehold
                                       er ST Loan
                                       to
          03072024                     facilitate
 3/7/2024 MB       Michael Bischoff    Cash Flow          10110 · Amegy Bank - Operating *2655                $   7,000.00
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                                      Sharehold
                                      er ST Loan
                                      to
          03082024                    facilitate
 3/8/2024 MB       Michael Bischoff   Cash Flow           10110 · Amegy Bank - Operating *2655   $   4,000.00

                                      Sharehold
                                      er ST Loan
                                      to
          03132024                    facilitate
3/13/2024 MB       Michael Bischoff   Cash Flow           10110 · Amegy Bank - Operating *2655   $ 20,000.00

                                      Sharehold
                                      er ST Loan
                                      to
          03142024                    facilitate
3/14/2024 MB       Michael Bischoff   Cash Flow           10110 · Amegy Bank - Operating *2655   $   2,000.00

                                      Sharehold
                                      er ST Loan
                                      to
          03142024                    facilitate
3/14/2024 MB       Michael Bischoff   Cash Flow           10110 · Amegy Bank - Operating *2655   $    400.00

                                      Sharehold
                                      er ST Loan
                                      to
          03142024                    facilitate
3/14/2024 MB       Michael Bischoff   Cash Flow           10110 · Amegy Bank - Operating *2655   $   1,000.00
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ZERO DAY PAYROLL TO SHAREHOLDER SOLUTIONS
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11/10/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
             Solutions
             LLC
11/3/2023    Shareholder    0    5,192.30    0        0   5,192.30   DD
             Solutions
             LLC
10/27/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
             Solutions
             LLC
10/20/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
             Solutions
             LLC
10/13/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
             Solutions
             LLC
10/6/2023    Shareholder    0    5,192.30    0        0   5,192.30   DD
             Solutions
             LLC
9/29/2023    Shareholder    0    5,192.30    0        0   5,192.30   DD
             Solutions
             LLC
9/22/2023    Shareholder    0    5,192.30    0        0   5,192.30   DD
             Solutions
             LLC
9/15/2023    Shareholder    0    5,192.30    0        0   5,192.30   DD
             Solutions
             LLC
9/8/2023     Shareholder    0    5,192.30    0        0   5,192.30   DD
             Solutions
             LLC
9/1/2023     Shareholder    0    5,192.30    0        0   5,192.30   DD
             Solutions
             LLC
8/25/2023    Shareholder    0    5,192.30    0        0   5,192.30   DD
             Solutions
             LLC
8/18/2023    Shareholder    0    5,192.30    0        0   5,192.30   DD
             Solutions
             LLC
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8/11/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
8/4/2023    Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
7/28/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
7/21/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
7/14/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
7/7/2023    Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
6/30/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
6/23/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
6/16/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
6/9/2023    Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
6/2/2023    Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
5/26/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
5/19/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
5/12/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
5/5/2023    Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
4/28/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
4/21/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
4/14/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
4/7/2023    Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
3/31/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
3/24/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
3/17/2023   Shareholder    0    5,192.30    0        0   5,192.30   DD
            Solutions
            LLC
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   ZERO DAY PAYROLL TO MIKE BISCHOFF SR.
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ZERO DAY DISTRIBUTIONS TO SHAREHOLDER SOLUTIONS
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Type    Date      Num                 Name                        Memo                                          Clr   Split                                  Debit      Credit
Check   12/5/2023                     Shareholder Solutions LLC   Online Xfer to DDA Shareholder   Id: 000005         10110 · Amegy Bank - Operating *2655   $ 4,000.00
Check    3/8/2024                     Shareholder Solutions LLC   Online Xfer to DDA Shareholder   Id: 000005         10110 · Amegy Bank - Operating *2655   $ 2,000.00
Check   3/11/2024                     Shareholder Solutions LLC   Online Xfer to DDA Shareholder   Id: 000005         10110 · Amegy Bank - Operating *2655   $ 2,596.15
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   ZERO DAY PAYROLL TO MICHAEL BISCHOFF
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11/10/2023   Bischoff,   0           2,307.70   386.55      0        1,921.15          DD
             Michael
11/3/2023    Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
             Michael
10/27/2023   Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
             Michael
10/20/2023   Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
             Michael
10/13/2023   Bischoff,   0           2,307.70   386.55      0        1,921.15          DD
             Michael
10/6/2023    Bischoff,   0           2,307.70   386.57      0        1,921.13          DD
             Michael
9/29/2023    Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
             Michael
9/22/2023    Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
             Michael
9/15/2023    Bischoff,   0           2,307.70   386.55      0        1,921.15          DD
             Michael
9/8/2023     Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
             Michael
9/1/2023     Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
             Michael
8/25/2023    Bischoff,   0           2,307.70   386.57      0        1,921.13          DD
             Michael
8/18/2023    Bischoff,   0           2,307.70   386.55      0        1,921.15          DD
             Michael
8/11/2023    Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
             Michael
8/4/2023     Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
             Michael
7/28/2023    Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
             Michael
7/21/2023    Bischoff,   0           2,307.70   386.55      0        1,921.15          DD
             Michael
7/14/2023    Bischoff,   0           2,307.70   386.57      0        1,921.13          DD
             Michael
7/7/2023     Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
             Michael
6/30/2023    Bischoff,   0           2,307.70   386.55      0        1,921.15          DD
             Michael
6/23/2023    Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
             Michael
6/16/2023    Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
             Michael
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6/9/2023    Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
            Michael
6/2/2023    Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
            Michael
5/26/2023   Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
            Michael
5/19/2023   Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
            Michael
5/12/2023   Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
            Michael
5/5/2023    Bischoff,   0           2,307.70   386.55      0        1,921.15          DD
            Michael
4/28/2023   Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
            Michael
4/21/2023   Bischoff,   0           2,307.70   386.57      0        1,921.13          DD
            Michael
4/14/2023   Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
            Michael
4/7/2023    Bischoff,   0           2,307.70   386.55      0        1,921.15          DD
            Michael
3/31/2023   Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
            Michael
3/24/2023   Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
            Michael
3/17/2023   Bischoff,   0           2,307.70   386.56      0        1,921.14          DD
            Michael
3/1/2024    Bischoff,   0           2,307.70   377.16      0        1,930.54          DD
            Michael
2/23/2024   Bischoff,   0           2,307.70   377.17      0        1,930.53          DD
            Michael
2/16/2024   Bischoff,   0           2,307.70   377.16      0        1,930.54          DD
            Michael
2/9/2024    Bischoff,   0           2,307.70   377.15      0        1,930.55          DD
            Michael
2/2/2024    Bischoff,   0           2,307.70   377.16      0        1,930.54          DD
            Michael
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Debtor       Zero Day Nutrition Company f/k/a GB Nutrition Company                               Case number (if known) 24-31134



             Case title                               Nature of case               Court or agency's name and              Status of case
             Case number                                                           address
      7.2.   Jasmine Gamez v. Zero Day                Class Action                 U.S. District Court                      Pending
             Nutrition Company dba                    Complaint, 1.                Central District of California           On appeal
             Glaxon                                   Violation of                 Riverside, Courtroom 1                   Concluded
             5:22-cv-1655                             California Unfair
                                                      Competition law
                                                      and other
                                                      charges.
                                                      This case was
                                                      dismissed.

      7.3.   American Express Travel                  Breach of                    Supreme Court of the State               Pending
             Related Services Company,                Contract, Account            of New York                              On appeal
             Inc. v. Zero Day Nutrition               Stated, Unjust               County of NewYork
                                                                                                                            Concluded
             Company                                  Enrichment


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

      None

Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

      None
             Recipient's name and address             Description of the gifts or contributions                 Dates given                          Value

      9.1.   Go Fund Me                               Donation
                                                                                                                03/03/23                       $1,011.00

             Recipients relationship to debtor
             None


      9.2.   GNC Holdings LLC                         18th Annual GNC Live Well Foundation
             300 Sixth Avenue                         Charrity Golf Outing
             Pittsburgh, PA 15222                                                                               08/11/23                      $15,000.00

             Recipients relationship to debtor
             None


Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

      None
      Description of the property lost and            Amount of payments received for the loss                  Dates of loss            Value of property
      how the loss occurred                                                                                                                           lost
                                                      If you have received payments to cover the loss, for
                                                      example, from insurance, government compensation, or
                                                      tort liability, list the total received.

                                                      List unpaid claims on Official Form 106A/B (Schedule
                                                      A/B: Assets – Real and Personal Property).

Part 6:      Certain Payments or Transfers


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Debtor      Zero Day Nutrition Company f/k/a GB Nutrition Company                               Case number (if known) 24-31134



      Name and address                                                                                                            Date of service
                                                                                                                                  From-To
      26a.1.        Melton & Melton LLP                                                                                           2013 - present
                    6002 Rogerdale Rd., Suite 200
                    Stafford, TX 77477
      26a.2.        Hanan Soliman                                                                                                 08/22/22 - 01/2024
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26a.3.        Chadwick Rood                                                                                                 10/2020 - 06/2022
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26a.4.        Stewart Nixon                                                                                                 01/24 - present
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26a.5.        Thomas Zennen                                                                                                 08/2018 - 12/20


      26a.6.        Michael Bischoff                                                                                              2013 - present
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26a.7.        Amy Maher                                                                                                     10/2022 - present
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26a.8.        Annette Hoover                                                                                                02/2023 - 03/2024
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26a.9.        Abbie Eiley                                                                                                   06/2022 - 10/2022
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26a.10.       Esther Trevino                                                                                                10/2022 - 05/2023
                    12502 Exchange Dr #448
                    Stafford, TX 77477

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

           None

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

           None
      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        Melton & Melton LLP


      26c.2.        Amy Maher
                    12502 Exchange Dr #448
                    Stafford, TX 77477
      26c.3.        Michael Bischoff
                    12502 Exchange Dr #448
                    Stafford, TX 77477


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Debtor      Zero Day Nutrition Company f/k/a GB Nutrition Company                               Case number (if known) 24-31134



      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.4.        Stewart Nixon
                    12502 Exchange Dr #448
                    Stafford, TX 77477

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

           None
      Name and address
      26d.1.        SBA (Texas Gulf Bank)
                    900 Town & Country Lane
                    Suite 100
                    Houston, TX 77024
      26d.2.        Melton & Melton LLP


      26d.3.        Ampla LLC


      26d.4.        3Point Capital
                    2901 Clint Moore Road
                    #401
                    Boca Raton, FL 33496
      26d.5.        LG Funding
                    1218 Union Street
                    Brooklyn, NY 11225
      26d.6.        Kickfurther


      26d.7.        Nuvision Resolve
                    1800 Route 34, Suite 102
                    Belmar, NJ 07719
      26d.8.        Amegy Bank
                    Attn: Jeff Tarpinian
                    17602 Southwest Freeway
                    Sugar Land, TX 77479
      26d.9.        Retail Capital LLC
                    25200 Telegraph Road
                    Suite 250
                    Southfield, MI 48033
      26d.10.       Valor Funding



27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

          No
      Yes. Give the details about the two most recent inventories.
               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

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Debtor      Zero Day Nutrition Company f/k/a GB Nutrition Company                              Case number (if known) 24-31134




      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Michael L. Bischoff, Jr.               12502 Exchange Dr., Suite 448                                                               100
                                             Stafford, TX 77477



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


          No
      Yes. Identify below.

30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

      No
          Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value
      30.1 See attached Exhibit "SOFA
      .    #4"


             Relationship to debtor




31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

          No
      Yes. Identify below.
   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

          No
      Yes. Identify below.
   Name of the pension fund                                                                           Employer Identification number of the pension
                                                                                                      fund




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Debtor      Zero Day Nutrition Company f/k/a GB Nutrition Company                               Case number (if known) 24-31134



Part 14:    Signature and Declaration

     WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
     connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
     18 U.S.C. §§ 152, 1341, 1519, and 3571.

     I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
     and correct.

     I declare under penalty of perjury that the foregoing is true and correct.

Executed on         April 21, 2024

                                                                Michael Bischoff
Signature of individual signing on behalf of the debtor         Printed name

Position or relationship to debtor   CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
 No
 Yes




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